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                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

Arthur Hardy
                               Plaintiff,
v.                                                    Case No.: 1:16−cv−05561
                                                      Honorable Jorge L. Alonso
Thomas Dart, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 3, 2017:


         MINUTE entry before the Honorable Jorge L. Alonso: A stipulation to dismiss has
been filed. This case is dismissed with prejudice. Status hearing previously set for 10/4/17
is stricken. Defendants' motion to dismiss and/or for summary judgment [29] is moot.
Civil Case Terminated. Notice mailed by judge's staff (ntf, )




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